      0:19-cv-00790-DCN          Date Filed 04/23/19        Entry Number 10        Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA

Terrence Bradshaw,                           )                 C/A No. 0:19-790-DCN-PJG
                                             )
                              Plaintiff,     )
                                             )
v.                                           )          REPORT AND RECOMMENDATION
                                             )
Bryan P. Stirling, South Carolina Department )
of Corrections Agency Director,              )
                                             )
                              Defendant.     )
_____________________________________ )

        The plaintiff, Terrence Bradshaw, a self-represented state prisoner, brings this civil rights

action pursuant to 42 U.S.C. § 1983. Plaintiff files this action in forma pauperis under 28 U.S.C.

§ 1915 and § 1915A. This matter is before the court pursuant to 28 U.S.C. § 636(b) and Local Civil

Rule 73.02(B)(2) (D.S.C.). Having reviewed the Complaint in accordance with applicable law, the

court concludes that it should be summarily dismissed with prejudice and without issuance and

service of process.

I.      Procedural Background

        Plaintiff, an inmate in the South Carolina Department of Corrections (“SCDC”), brings this

action for damages pursuant to 42 U.S.C. § 1983. (Compl., ECF No. 1 at 2, 4.) Plaintiff claims that

Defendant Bryan P. Stirling, the Director of SCDC, violated Plaintiff’s constitutional rights by not

allowing Plaintiff to use good conduct credits or earned work credits. (Id. 4-6.) Specifically,

Plaintiff claims he should be able to use the credits now and be released, despite that fact that he was

convicted of an offense that requires he serve eighty-five percent of his sentence under state law.




                                             Page 1 of 5
      0:19-cv-00790-DCN          Date Filed 04/23/19       Entry Number 10         Page 2 of 5




II.    Discussion

       A.      Standard of Review

       Under established local procedure in this judicial district, a careful review has been made

of the pro se Complaint pursuant to the procedural provisions of the Prison Litigation Reform Act

(“PLRA”), Pub. L. No. 104-134, 110 Stat. 1321 (1996), including 28 U.S.C. § 1915 and 28 U.S.C.

§ 1915A. The Complaint has been filed pursuant to 28 U.S.C. § 1915, which permits an indigent

litigant to commence an action in federal court without prepaying the administrative costs of

proceeding with the lawsuit, and is also governed by 28 U.S.C. § 1915A, which requires the court

to review a complaint filed by a prisoner that seeks redress from a governmental entity or officer or

employee of a governmental entity. See McLean v. United States, 566 F.3d 391 (4th Cir. 2009).

Section 1915A requires, and § 1915 allows, a district court to dismiss the case upon a finding that

the action is frivolous, malicious, fails to state a claim on which relief may be granted, or seeks

monetary relief against a defendant who is immune from such relief. 28 U.S.C. § 1915(e)(2)(B);

28 U.S.C. § 1915A(b).

       This court is required to liberally construe pro se complaints, which are held to a less

stringent standard than those drafted by attorneys. Erickson v. Pardus, 551 U.S. 89, 94 (2007); King

v. Rubenstein, 825 F.3d 206, 214 (4th Cir. 2016). Nonetheless, the requirement of liberal

construction does not mean that the court can ignore a clear failure in the pleading to allege facts

which set forth a claim cognizable in a federal district court. See Weller v. Dep’t of Soc. Servs., 901

F.2d 387 (4th Cir. 1990); see also Ashcroft v. Iqbal, 556 U.S. 662, 684 (2009) (outlining pleading

requirements under Rule 8 of the Federal Rules of Civil Procedure for “all civil actions”).




                                             Page 2 of 5
      0:19-cv-00790-DCN           Date Filed 04/23/19        Entry Number 10         Page 3 of 5




        B.      Analysis

        The court concludes that Plaintiff’s action is subject to summary dismissal because it is

duplicative of a case he recently filed in this court, and therefore, it is frivolous. See Cottle v. Bell,

229 F.3d 1142 (4th Cir. 2000) (Table) (“Because district courts are not required to entertain

duplicative or redundant lawsuits, they may dismiss such suits as frivolous pursuant to § 1915(e).”)

(citing Aziz v. Burrows, 1158, 1158 (8th Cir. 1992)); McWilliams v. State of Colo., 121 F.3d 573,

574 (10th Cir. 1997) (“ ‘Repetitious litigation of virtually identical causes of action’ may be

dismissed under § 1915 as frivolous or malicious.”) (quoting Bailey v. Johnson, 846 F.2d 1019,

1021 (5th Cir. 1988)); Wilson v. Lynaugh, 878 F.2d 846, 850 (5th Cir. 1989) (“To this end, IFP

complaints may be dismissed as frivolous pursuant to § 1915(d) when they seek to relitigate claims

which allege substantially the same facts arising from a common series of events which have already

been unsuccessfully litigated by the IFP plaintiff.”).

        Here, Plaintiff raises the same causes of action against Stirling based on the same facts as

Plaintiff did in a case that this court recently and summarily dismissed with prejudice for failure to

state a claim upon which relief can be granted. See Bradshaw v. Stirling, C/A No. 0:18-cv-3080-

DCN (ECF No. 19.) Accordingly, this action is duplicative and it should be summarily dismissed

as frivolous. Additionally, the court recommends this action be designated as a “strike” under the

PLRA based on frivolousness. See 28 U.S.C. § 1915(g) (“In no event shall a prisoner bring a civil

action or appeal a judgment in a civil action or proceeding under this section if the prisoner has, on

3 or more prior occasions, while incarcerated or detained in any facility, brought an action or appeal

in a court of the United States that was dismissed on the grounds that it is frivolous, malicious, or

fails to state a claim upon which relief may be granted, unless the prisoner is under imminent danger

of serious physical injury.”)

                                              Page 3 of 5
       0:19-cv-00790-DCN        Date Filed 04/23/19      Entry Number 10        Page 4 of 5




III.    Conclusion

        The court recommends that the Complaint be dismissed with prejudice and without issuance

and service of process. It is further recommended that this action be designated a “strike” pursuant

to 28 U.S.C. § 1915(g).



                                                     ____________________________________
April 18, 2019                                       Paige J. Gossett
Columbia, South Carolina                             UNITED STATES MAGISTRATE JUDGE

            The parties are directed to note the important information in the attached
              “Notice of Right to File Objections to Report and Recommendation.”




                                           Page 4 of 5
      0:19-cv-00790-DCN           Date Filed 04/23/19        Entry Number 10          Page 5 of 5




              Notice of Right to File Objections to Report and Recommendation

        The parties are advised that they may file specific written objections to this Report and
Recommendation with the District Judge. Objections must specifically identify the portions of the
Report and Recommendation to which objections are made and the basis for such objections. “[I]n
the absence of a timely filed objection, a district court need not conduct a de novo review, but
instead must ‘only satisfy itself that there is no clear error on the face of the record in order to accept
the recommendation.’” Diamond v. Colonial Life & Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005)
(quoting Fed. R. Civ. P. 72 advisory committee’s note).

        Specific written objections must be filed within fourteen (14) days of the date of service of
this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); see Fed. R. Civ.
P. 6(a), (d). Filing by mail pursuant to Federal Rule of Civil Procedure 5 may be accomplished by
mailing objections to:

                                       Robin L. Blume, Clerk
                                     United States District Court
                                        901 Richland Street
                                   Columbia, South Carolina 29201

        Failure to timely file specific written objections to this Report and Recommendation
will result in waiver of the right to appeal from a judgment of the District Court based upon
such Recommendation. 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v.
Collins, 766 F.2d 841 (4th Cir. 1985); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984).




                                              Page 5 of 5
